                Case 1:20-ap-01118-MB        Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34        Desc
                                             Main Document    Page 1 of 96


                   1   Aram Ordubegian (SBN 185142)
                       Annie Y. Stoops (SBN 286325)
                   2   Dylan J. Yamamoto (SBN 324601)
                       ARENT FOX LLP
                   3   555 West Fifth Street, 48th Floor
                       Los Angeles, CA 90013-1065
                   4   Telephone:    213.629.7400
                       Facsimile:    213.629.7401
                   5   aram.ordubegian@arentfox.com
                       annie.stoops@arentfox.com
                   6   dylan.yamamoto@arentfox.com

                   7   Proposed Special Litigation Counsel
                       for David Seror, Chapter 7 Trustee
                   8

                   9                          UNITED STATES BANKRUPTCY COURT

                10        CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO VALLEY DIVISION

                11      In re
                                                                       Case No. 1:18-bk-12979-MB
                12      TODD HARRIS GOLDMAN,
                                                                       Chapter 7
                13                            Debtor.

                14
                        DAVID SEROR, Chapter 7 Trustee,                Adv. Case No. 1:20-ap-________-MB
                15
                                              Plaintiff,
                16                                                     COMPLAINT FOR:
                                v.
                17                                                     1) DECLARATORY RELIEF;

                18      TODD HARRIS GOLDMAN, an individual,            2) AVOIDANCE OF FRAUDULENT
                        MAYA HAMBLET, an individual,                      TRANSFERS WITH ACTUAL
                19      MATTHEW ROCH ARGALL, an individual,               INTENT;
                        ROY REVIVO, an individual, ANDREW
                20      GOLDMAN, an individual, DAVID &                3) AVOIDANCE OF
                        GOLIATH, INC., a Florida profit corporation,      CONSTRUCTIVELY FRAUDULENT
                21      NERF PONG PRODUCTIONS, LLC, a                     TRANSFERS;
                        Florida limited liability company, and THE
                22      ROSS ART GROUP INC., a New York                4) RECOVERY AND PRESERVATION
                        domestic business corporation,                    OF AVOIDED TRANSFERS;
                23
                                              Defendants.              5) CONVERSION;
                24
                                                                       6) TURNOVER; AND
                25
                                                                       7) ACCOUNTING
                26

                27                                                     [SUMMONS TO BE ISSUED]

                28
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                Case 1:20-ap-01118-MB            Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34              Desc
                                                 Main Document    Page 2 of 96


                   1          David Seror, Chapter 7 Trustee (the “Trustee”) for the bankruptcy estate (the “Estate”) of

                   2   debtor Todd Goldman (the “Debtor”), complaining of the Debtor, Maya Hamblet, Matthew Roch

                   3   Argall, Roy Revivo, Andrew Goldman, David & Goliath, Inc., Nerf Pong Productions, LLC, and

                   4   The Ross Art Group Inc. (collectively, the “Defendants”), alleges as follows:

                   5                        I.     NATURE OF ACTION AND JURISDICTION

                   6          1.      The Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 157(b)(2)(A),

                   7   (E), (H) and (O), 1334(b), and General Order No. 13-05 of the District Court for the Central District

                   8   of California, because this is a core proceeding related to the bankruptcy case of In re Todd

                   9   Goldman, Case No. 1:18-bk-12979-MB, pending before the United States Bankruptcy Court for

                10     the Central District of California, San Fernando Valley Division. Venue properly lies in this

                11     judicial district pursuant to 28 U.S.C. § 1409(a), in that the instant proceeding is related to the

                12     Debtor’s pending bankruptcy case. The Trustee consents to final orders or judgment by the

                13     Bankruptcy Court.

                14            2.      This is an adversary proceeding brought pursuant to Title VII of the Federal Rules

                15     of Bankruptcy Procedure to recover certain transfers of personal property made by the Debtor to

                16     certain of the Defendants and related relief. The Trustee seeks entry of a judgment avoiding the

                17     transfers at issue pursuant to 11 U.S.C. §§ 544 and/or 548 and recovering the transfers pursuant to

                18     11 U.S.C. § 550.

                19           3.       Additionally, this adversary proceeding seeks declaratory relief as to the nature and

                20     extent of the Debtor’s ownership interest in David & Goliath, Inc. and Nerf Pong Productions, LLC

                21     and/or the Debtor’s interest in royalties and commissions received by those entities on account of

                22     the Debtor’s prepetition intellectual property.

                23                                           II.     THE PARTIES

                24            4.      The Trustee brings this action solely in his capacity as Chapter 7 Trustee of the

                25     Debtor’s estate.

                26            5.      Todd Goldman is the Debtor in this bankruptcy case and resided in Los Angeles,

                27     California as of the petition date. On information and belief, the Debtor now resides in Nashville,

                28     Tennessee.
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                Case 1:20-ap-01118-MB            Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34             Desc
                                                 Main Document    Page 3 of 96


                   1           6.      Maya Hamblet (“Hamblet”) is an individual, and on information and belief, a

                   2   resident of Tampa, Florida.

                   3           7.      Matthew Roch Argall (“Argall”) is an individual, and on information and belief, a

                   4   resident of Belleair, Florida.

                   5           8.      Roy Revivo (“Revivo”) is an individual, and on information and belief, a resident

                   6   of Los Angeles, California.

                   7           9.      Andrew Goldman (“A. Goldman”) is the Debtor’s brother, and on information and

                   8   belief, a resident of Florida.

                   9           10.     David & Goliath, Inc. (“D&G”) is a Florida profit corporation incorporated by the

                10     Debtor on or around January 26, 2000.

                11             11.     Nerf Pong Productions, LLC (“Nerf Pong”) is a Florida limited liability company

                12     organized by A. Goldman on or around June 1, 2018.

                13             12.     The Ross Art Group Inc. (“Ross Art Group”) is a New York domestic business

                14     corporation.

                15                                      III.   GENERAL ALLEGATIONS

                16     A.      Background

                17             13.     The Debtor is an artist and author who creates, among other things, paintings and

                18     children’s books.

                19             14.     On information and belief, on or around January 26, 2000, the Debtor incorporated

                20     D&G to manage and license the Debtor’s intellectual property related to the Debtor’s artwork.

                21             15.     From 2000 to 2014, the Annual Reports filed with the Florida Secretary of State

                22     named the Debtor as the President of D&G and one of its directors.

                23             16.     On information and belief, although the Debtor is no longer listed as a director of

                24     D&G, the Debtor has consistently held himself out as the owner of D&G.

                25             17.     On information and belief, on or around January 2, 2002, the Debtor signed a Work

                26     for Hire Agreement with D&G (the “2002 Agreement”). Under the 2002 Agreement, the Debtor

                27     was to be employed by D&G to develop and design creative content, concepts, digital art, books,

                28     paintings, graphics, products, character and entertainment properties, including the scripting and
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                Case 1:20-ap-01118-MB          Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34               Desc
                                               Main Document    Page 4 of 96


                   1   animation and other ideas and concepts, and was to be paid for his work as a salaried employee.

                   2          18.     On information and belief, on or around January 1, 2005, the Debtor and D&G

                   3   entered into an Artwork Work for Hire Agreement (the “2005 Agreement”). Under the 2005

                   4   Agreement, D&G paid the Debtor $1.00 for all rights in and to the Debtor’s artworks known as

                   5   “Boys are Stupid, Throw Rocks at Them” and “Girls Are Weirdoes, But They Smell Pretty.”

                   6   However, the Debtor retained the rights in and to any books created from the artwork.

                   7          19.     On information and belief, notwithstanding the 2002 Agreement, the Debtor and his

                   8   father, one of D&G’s former directors, had a separate agreement that the Debtor would receive

                   9   50% of the proceeds from the intellectual property created by the Debtor in addition to salary as an

                10     “employee.”

                11            20.     On information and belief, in apparent accordance with the 2002 Agreement, from

                12     2002 through the present date, the Debtor has been receiving income from D&G amounting to his

                13     50% of proceeds from the Debtor’s intellectual property.

                14            21.     On information and belief, the Debtor has a legal or equitable ownership in the

                15     intellectual property listed in Exhibit 1 attached hereto and incorporated herein in full by this

                16     reference (the “Intellectual Property”). The Intellectual Property is either held directly by the

                17     Debtor or for his benefit through D&G.

                18            22.     On information and belief, from approximately 2015 to 2019, A. Goldman

                19     controlled D&G. During that time – and in an attempt to shield the Debtor’s income from his

                20     creditors – D&G paid the Debtor through the Debtor’s PayPal account.

                21            23.     On information and belief, on or around February 2, 2017, D&G and Entertainment

                22     Retail Enterprises, LLC (“ERE”) entered into a licensing agreement whereby D&G granted ERE a

                23     license to certain prepetition Intellectual Property of the Debtor (the “ERE Agreement”). Pursuant

                24     to which, ERE is to pay D&G guaranteed minimum payments during each year of the agreement,

                25     ranging from $100,000 to $150,000. In addition, ERE is to pay D&G earned royalties at the end

                26     of each calendar year. The initial term of the ERE Agreement is from January 1, 2017 to December

                27     31, 2026.

                28            24.     On information and belief, the Debtor receives 50% of the proceeds from the ERE
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                Case 1:20-ap-01118-MB               Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34                          Desc
                                                    Main Document    Page 5 of 96


                   1   Agreement paid to D&G via A. Goldman.

                   2            25.      On information and belief, on or around June 1, 2018, at the Debtor’s direction, A.

                   3   Goldman organized Nerf Pong to manage and license the Debtor’s prepetition Intellectual Property

                   4   related to the Debtor’s artwork.1

                   5            26.      On information and belief, on or around January 1, 2019 and at A. Goldman’s

                   6   direction, Nerf Pong and D&G entered into a licensing agreement whereby D&G granted Nerf

                   7   Pong a license to certain prepetition Intellectual Property of the Debtor.

                   8            27.      On information and belief, the Debtor is receiving income from Nerf Pong on

                   9   account of proceeds from his prepetition Intellectual Property.

                10              28.      On information and belief, in or around the Spring of 2020, the Debtor signed with

                11     Firefly Brand Management regarding licensing and product opportunities of the Debtor’s

                12     prepetition Intellectual Property, which is property of the estate.

                13              29.      On information and belief, the Debtor has been selling paintings he created prior to

                14     the petition date, which paintings are property of the Debtor’s bankruptcy estate, through the

                15     website www.toddart.co.uk.

                16     B.       The Dissolution Action and Collection Efforts

                17              30.      On information and belief, the Debtor and Nicole Goldman (“N. Goldman”) were

                18     married on April 3, 2011.

                19              31.      On October 28, 2014, N. Goldman initiated marital dissolution proceedings against

                20     the Debtor by filing a Petition for Dissolution of Marriage in the Superior Court for the County of

                21     Los Angeles (the “State Court”), in that certain action entitled Nicole Goldman v. Todd Goldman,

                22     Los Angeles County Superior Court case number BD610524 (the “Dissolution Action”).

                23              32.      On information and belief, in the Dissolution Action, N. Goldman and her counsel

                24     obtained several orders against the Debtor, including, but not limited to, the following:

                25                    a. On August 12, 2015, the State Court entered an order requiring the Debtor to pay

                26                       $65,000 to N. Goldman’s counsel, Brot & Gross, LLP, as his contributive share of

                27
                       1
                28       To the extent that the Debtor executed a work for hire agreement with Nerf Pong, the Trustee reserves the right to
                       challenge such agreement in connection with this action.
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                Case 1:20-ap-01118-MB           Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34                  Desc
                                                Main Document    Page 6 of 96


                   1                   N. Goldman’s attorney and accountant fees and costs (the “August Order”).

                   2                   Pursuant to the August Order, the Debtor was to make the $65,000 payment on or

                   3                   before October 28, 2015. A true and correct copy of the August Order is attached

                   4                   hereto as Exhibit 2 and incorporated herein in full by this reference.

                   5                b. On February 22, 2016, the State Court entered an order compelling the Debtor to

                   6                   respond to discovery propounded by N. Goldman in the Dissolution Action and

                   7                   awarding monetary sanctions against the Debtor in the amount of $3,130 payable to

                   8                   Brot & Gross, LLP on or before February 5, 2016 (the “February Order”). A true

                   9                   and correct copy of the February Order is attached hereto as Exhibit 3 and

                10                     incorporated herein in full by this reference.

                11                  c. On September 13, 2016, the State Court entered an order stating that the August

                12                     Order remained due, owing, and unpaid, and requiring the Debtor to pay Brot &

                13                     Gross, LLP an additional $121,600 for N. Goldman’s attorneys’ fees and costs (the

                14                     “September Order,” collectively with the August Order and February Order, the

                15                     “Orders”). A true and correct copy of the September Order is attached hereto as

                16                     Exhibit 4 and incorporated herein in full by this reference.

                17                  d. On information and belief, the State Court ordered the Debtor to pay spousal support

                18                     and child support to N. Goldman, and at all relevant time herein, the Debtor was not

                19                     timely paying these domestic support obligations (the “Domestic Support

                20                     Obligations”).

                21            33.      On information and belief, after obtaining the Orders and Domestic Support

                22     Obligations, Brot & Gross, LLP, on behalf of N. Goldman, began taking actions to collect the

                23     amounts owed by Debtor, including, but not limited to, the following:

                24                  a. On or around November 10, 2015, Brot & Gross, LLP recorded an Abstract of

                25                     Judgment against the Debtor in California based on the August Order (the

                26                     “California Judgment”). A true and correct copy of the California Judgment is

                27                     attached hereto as Exhibit 5 and incorporated herein in full by this reference.

                28                  b. On or around July 21, 2016, Brot & Gross, LLP served a writ of execution to enforce
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                Case 1:20-ap-01118-MB            Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34                Desc
                                                 Main Document    Page 7 of 96


                   1                   the California Judgment.

                   2                c. On or around September 16, 2016, Brot & Gross, LLP recorded an Abstract of

                   3                   Judgment against the Debtor in Florida based on the California Judgment.

                   4                d. On or around October 17, 2016, Brot & Gross, LLP served a Writ of Garnishment

                   5                   on Hamblet and Argall (the “October Writ”). A true and correct copy of the October

                   6                   Writ is attached hereto as Exhibit 5 and incorporated herein in full by this reference.

                   7                e. In or around November 2016, Brot & Gross, LLP conducted a deposition of the

                   8                   Debtor.

                   9                f. In or around December 2016, Brot & Gross, LLP conducted a deposition of

                10                     Goldman.

                11                  g. In or around January 2017, Brot & Gross, LLP served another Writ of Garnishment

                12                     on Hamblet and Argall (the “January Writ,” together with the October Writ, the

                13                     “Writs of Garnishment”).

                14                  h. On or around January 27, 2017, Brot & Gross, LLP conducted a deposition of

                15                     Hamblet regarding the Writs of Garnishment.

                16            34.      On information and belief, the Orders and Domestic Support Obligations as well as

                17     N. Goldman and her counsel’s efforts to collect thereon, precipitated the Debtor to create a scheme

                18     to delay, hinder, or defraud his creditors by concealing his assets, including his interest in D&G

                19     and his Intellectual Property, and transferring his personal property to several of the defendants

                20     named herein in an attempt to shield those assets from the reach of his creditors.

                21     C.     Debtor’s Fraudulent Transfer of 1,000 Paintings

                22            35.      On information and belief, in or around December 2016, the Debtor removed

                23     approximately 1,000 of his paintings from the D&G warehouse and temporarily placed those

                24     paintings at the ERE Distribution Center in Apopka, Florida.

                25            36.      On information and belief, the Debtor moved the paintings to hide them from N.

                26     Goldman and her counsel in light of the numerous orders and writs detailed above.

                27            37.      On information and belief, in early 2017, the Debtor entered into negotiations with

                28     Revivo regarding approximately 900 of those paintings (the “900 Paintings”).
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                                                                        -7-
                Case 1:20-ap-01118-MB          Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34                Desc
                                               Main Document    Page 8 of 96


                   1          38.     On information and belief, the Debtor and Revivo came to an oral agreement that

                   2   Revivo would loan $100,000 to the Debtor and the Debtor would transfer the 900 Paintings to

                   3   Revivo as collateral (the “Revivo Agreement”).

                   4          39.     On information and belief, Revivo advanced $10,000 of that loan to the Debtor.

                   5          40.     On information and belief, on March 16, 2017, the Debtor caused the 900 Paintings

                   6   to be shipped from the ERE Distribution Center to Revivo at 5938 Laurel Canyon Blvd., Valley

                   7   Village, California 91607 (the “March 2017 Revivo Transfer”). A true and correct copy of the Bill

                   8   of Lading is attached hereto as Exhibit 6 and incorporated herein in full by this reference.

                   9          41.     On information and belief, the fair market value of the 900 Paintings was

                10     approximately $900,000 at the time of the March 2017 Revivo Transfer.

                11            42.     On information and belief, as compared to the value of the 900 Paintings, the Debtor

                12     received nominal consideration of $10,000 for the March 2017 Revivo Transfer.

                13            43.     On information and belief, once the 900 Paintings arrived in Los Angeles, Revivo

                14     refused to fund the remaining $90,000 under the Revivo Agreement unless the Debtor agreed to

                15     split the proceeds from the 900 Paintings with Revivo, which the Debtor refused.

                16            44.     On information and belief, Revivo has possession, custody or control of the 900

                17     Paintings.

                18            45.     On information and belief, in or around July 2017, the Debtor transferred the

                19     remaining 100 paintings located at the ERE Distribution Center (“100 Paintings”) to Ross Art

                20     Group (“July 2017 Transfer”).

                21            46.     On information and belief, the fair market value of the 100 Paintings was

                22     approximately $100,000 at the time of the July 2017 Transfer.

                23            47.     On information and belief, as compared to the value of the 100 Paintings, the Debtor

                24     received nominal consideration, if any, in exchange for the July 2017 Transfer.

                25            48.     On information and belief, the Debtor was insolvent on the dates of the March 2017

                26     Revivo Transfer and the July 2017 Transfer or became insolvent as a result of those transfers.

                27            49.     Based on the circumstances of the March 2017 Revivo Transfer and the July 2017

                28     Transfer, the Trustee is informed and believes, and based thereon alleges, that those transfers were
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                                                                       -8-
                Case 1:20-ap-01118-MB            Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34                Desc
                                                 Main Document    Page 9 of 96


                   1   made by the Debtor with the actual intent to hinder, delay, or defraud his creditors, because, among

                   2   other things: (i) the transfers were made after N. Goldman’s counsel began collection efforts; (ii)

                   3   the Debtor did not disclose the true nature of the transfers in his Schedules or Statement of Financial

                   4   Affairs; (iii) the Debtor does not appear to have received reasonably equivalent value in exchange

                   5   for the transfers; and (iv) the Debtor was insolvent at the time of the transfers or became insolvent

                   6   as a result of the transfers.

                   7   D.      Debtor’s Concealment and Fraudulent Transfer of Artwork and Furniture

                   8           50.     On information and belief, the Debtor resided at 565 Bayview Drive, Belleair,

                   9   Florida 33756 (the “Bayview Property”) from approximately 2004 until relocating to Los Angeles,

                10     California in or around 2012.

                11             51.     On information and belief, artwork and furniture was located in the Bayview

                12     Property with a fair market value of approximately $1,000,000 as of March 2017 (the “Bayview

                13     Furnishings”). A true and correct copy of a list of the Bayview Furnishings is attached hereto as

                14     Exhibit 7 and incorporated herein in full by this reference.

                15             52.     On information and belief, in or around March 2016, the Debtor listed the Bayview

                16     Property for rent, fully furnished with the Bayview Furnishings, through the website Airbnb.

                17             53.     On information and belief, on or about March 23, 2016, Hamblet contacted the

                18     Debtor via Airbnb and Facebook regarding leasing the Bayview Property.

                19             54.     On information and belief, the Debtor, Hamblet and Argall entered into an oral

                20     agreement wherein the Debtor agreed to lease the Bayview Property to Hamblet and Argall for

                21     $10,000 per month less repairs, plus a $10,000 security deposit.

                22             55.     On information and belief, in or around April 2016, Hamblet and Argall moved into

                23     the Bayview Property, and began paying the monthly lease obligation to the Debtor.

                24             56.     On information and belief, in or around October 2016, Brot & Gross, LLP sent

                25     Hamblet and Argall letters regarding garnishment of the monthly lease obligation and the Bayview

                26     Furnishings.

                27             57.     On information and belief, on or around October 17, 2016 and January 2017, Brot

                28     & Gross, LLP served the Writs of Garnishment on Hamblet and Argall.
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                                                                        -9-
                Case 1:20-ap-01118-MB         Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34               Desc
                                              Main Document   Page 10 of 96


                   1          58.     On or around January 27, 2017, Brot & Gross, LLP conducted a deposition of

                   2   Hamblet regarding the Writs of Garnishment.

                   3          59.     On information and belief, from January 2017 to February 2017, pursuant to the

                   4   Writs of Garnishment, Hamblet and Argall paid $6,500 each month to Brot & Gross, LLP.

                   5          60.     On information and belief, in or around March 2017, the Debtor transferred some

                   6   of the Bayview Furnishings to Hamblet and Argall in exchange for the $10,000 security deposit

                   7   (the “March 2017 Bayview Transfer”).

                   8          61.     On information and belief, the Bayview Furnishings transferred to Hamblet and

                   9   Argall included, among other things, the Debtor’s hand-signed limited edition lithographs valued

                10     in the aggregate amount of approximately $719,250.

                11            62.     On information and belief, as compared to the value of the Bayview Furnishings

                12     transferred, the Debtor received merely nominal consideration of $10,000 in exchange for the

                13     March 2017 Bayview Transfer.

                14            63.     On information and belief, the Debtor transferred some of the Bayview Furnishings

                15     to A. Goldman, including but not limited to, his African art collection, his vintage TWA poster

                16     collection, a Leo Ray oil painting, a painting by Gabriel Nicolet, a Campbell’s Soup painting and

                17     some of the Debtor’s original artwork (the “A. Goldman Transfers”).

                18            64.     On information and belief, the fair market value of the Debtor’s African art

                19     collection was approximately $40,500 on the date of the A. Goldman Transfers.

                20            65.     On information and belief, as compared to the value of the Debtor’s African art

                21     collection and the other artwork transferred, the Debtor received nominal consideration, if any, in

                22     exchange for the A. Goldman Transfers.

                23            66.     On information and belief, A. Goldman has possession, custody or control of the

                24     artwork transferred to him.

                25            67.     On information and belief, the Debtor retained possession of some of the Bayview

                26     Furnishings, including, but not limited to, two vintage 1930’s film lot lights worth approximately

                27     $5,000 each, an original Porky Pig from a 1920’s carnival ride, and some African art, all of which

                28     constitute property of the Debtor’s bankruptcy estate.
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                                                                     - 10 -
                Case 1:20-ap-01118-MB          Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34                Desc
                                               Main Document   Page 11 of 96


                   1          68.     On information and belief, the Debtor has concealed these assets from his creditors

                   2   by falsely claiming that they were stolen by Hamblet and Argall.

                   3          69.     On information and belief, on or around July 6, 2017, Hamblet and Argall

                   4   terminated their lease of the Bayview Property, and moved out of the property taking with them the

                   5   Bayview Furnishings.

                   6          70.     On information and belief, on or around July 15, 2017, the Debtor caused a

                   7   complaint for theft to be filed with the Belleair Police Department, alleging that Hamblet and Argall

                   8   stole the Bayview Furnishings (the “Police Report”).

                   9          71.     According to the Police Report, on or around August 11, 2017, detectives from the

                10     Belleair Police Department interviewed Hamblet and Argall at their new residence regarding the

                11     alleged theft of the Bayview Furnishings.

                12            72.     According to the Police Report, while in Hamblet and Argall’s new residence, the

                13     detectives observed several of the items the Debtor alleged were stolen by Hamblet and Argall,

                14     including a large wooden hutch, a set of 12 foot decorative doors, Cassina couches, a large Buddha,

                15     a large mirror, a life size cow, and a Mickey Mouse painting.

                16            73.     According to the Police Report, during the interview, Hamblet showed the

                17     detectives text messages and photographs exchanged with the Debtor evidencing their negotiations

                18     regarding the March 2017 Bayview Transfer.

                19            74.     On information and belief, the Debtor caused the Police Report to be filed in an

                20     attempt to shield his assets and conceal the fraudulent nature of the March 2017 Bayview Transfer

                21     and the A. Goldman Transfers in furtherance of his scheme to hinder, delay, or defraud his creditors.

                22     E.     The Debtor’s Bankruptcy Case

                23            75.     On December 11, 2018, the Debtor filed a voluntary chapter 7 petition, initiating

                24     Bankruptcy Case No. 1:18-bk-12979-MB. On December 26, 2018, the Debtor filed his Schedules

                25     and Statement of Financial Affairs [Bankruptcy Case, Doc. 9].

                26            76.     In his schedule A/B, the Debtor represented that he owned personal property in the

                27     aggregate amount of $7,505, including $1,000 in household goods and furnishings and $2,000 in

                28     collectibles of value. In response to Question No. 33, “Claims against third parties, whether or not
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                                                                      - 11 -
                Case 1:20-ap-01118-MB            Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34               Desc
                                                 Main Document   Page 12 of 96


                   1   you have filed a lawsuit or made a demand for payment,” the Debtor answered “Potential claim

                   2   against former tenants Maya Hamblet and Matthew Argall who stole approximately $200,000 in

                   3   furniture and $800,000 in art print from 565 Bayview Drive, Belleair, FL.”

                   4          77.     On information and belief, the Debtor made the claim in his schedule A/B that

                   5   Hamblet and Argall “stole” the Bayview Furnishings in furtherance of the Debtor’s scheme to

                   6   hinder, delay, or defraud his creditors.

                   7          78.     On information and belief, the Debtor was insolvent on the dates of the March 2017

                   8   Bayview Transfer and the A. Goldman Transfers or became insolvent as a result of those transfers.

                   9          79.     Based on the circumstances of the March 2017 Bayview Transfer and the A.

                10     Goldman Transfer, the Trustee is informed and believes, and based thereon alleges, that the

                11     transfers were made by the Debtor with the actual intent to hinder, delay, or defraud his creditors,

                12     because, among other things: (i) the transfers were made after N. Goldman’s counsel began

                13     collection efforts; (ii) the Debtor caused the Police Report to be filed to conceal the fraudulent

                14     nature of the transfers from his creditors; (iii) the Debtor did not disclose the true nature of the

                15     transfers in his Schedules or Statement of Financial Affairs; (iv) the Debtor does not appear to have

                16     received reasonably equivalent value in exchange for the transfers; and (v) the Debtor was insolvent

                17     at the time of the transfers or became insolvent as a result of the transfers.

                18     F.     Revivo’s Conversion of the Proceeds of the 900 Paintings

                19            80.     On information and belief, after the Debtor filed bankruptcy, Revivo began selling

                20     the 900 Paintings without the Debtor’s or the Trustee’s consent.

                21            81.     On information and belief, the proceeds from the sale of the 900 Paintings are

                22     property of the Estate.

                23            82.     On information and belief, Revivo has converted the proceeds from the sale of the

                24     900 Paintings for his own benefit, the exact amount of which according to proof at trial.

                25                                       FIRST CLAIM FOR RELIEF

                26                       Declaratory Relief Against Defendants D&G and Nerf Pong

                27                                                [28 U.S.C. § 2201]

                28            83.     Plaintiff repeats and realleges each of the allegations set forth above as if fully set
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                                                                        - 12 -
                Case 1:20-ap-01118-MB            Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34                  Desc
                                                 Main Document   Page 13 of 96


                   1   forth herein.

                   2           84.      An actual controversy exists as between Plaintiff and defendants D&G and Nerf

                   3   Pong, in that:

                   4                 a. D&G claims that it owns all rights and interest to the Intellectual Property;

                   5                 b. Nerf Pong claims that the Debtor has no interest in Nerf Pong;

                   6                 c. Plaintiff contends that the Debtor owns at least a 50% interest in the rights and

                   7                    interests to the Intellectual Property; and

                   8                 d. Plaintiff contends that the Debtor owns at least an equitable interest in Nerf Pong to

                   9                    the extent that Nerf Pong is receiving proceeds from the Debtor’s Intellectual

                10                      Property.

                11             85.      Because of the adverse positions of Plaintiff and defendants D&G and Nerf Pong, a

                12     dispute exists as to the Parties’ rights, claims, interests, and obligations in the Intellectual Property.

                13     Based thereon, Plaintiff seeks an order of the Bankruptcy Court determining:

                14                   a. The nature and extent of the Debtor’s interest in D&G;

                15                   b. The nature and extent of the Debtor’s interest in Nerf Pong;

                16                   c. The nature and extent of the Debtor’s interest in the Intellectual Property; and

                17                   d. The nature and extent of the Debtor’s interest in the proceeds from the Intellectual

                18                      Property.

                19             86.      An actual controversy exists between the Parties as heretofore stated, the

                20     determination of which will impact the value of the Debtor’s assets in this bankruptcy estate.

                21                                       SECOND CLAIM FOR RELIEF

                22       Avoidance of Actual Fraudulent Transfer Against Defendants Revivo, Ross Art Group,

                23                                       Hamblet, Argall, and A. Goldman

                24                      [11 U.S.C. §§ 544(b) and 550; and Fla. Stat. Ann. § 726.105(1)(a)]

                25             87.      Plaintiff repeats and realleges each of the allegations set forth above as if fully set

                26     forth herein.

                27             88.      The March 2017 Revivo Transfer, the March 2017 Bayview Transfer, the July 2017

                28     Transfer, and the A. Goldman Transfers (collectively, the “Transfers”) were made with the actual
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                                                                         - 13 -
                Case 1:20-ap-01118-MB          Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34                  Desc
                                               Main Document   Page 14 of 96


                   1   intent to hinder, delay, or defraud creditors of the Debtor.

                   2             89.   The Debtor received nominal consideration in exchange for each of the Transfers.

                   3             90.   The Debtor effectuated each of the Transfers with the intent to prevent N.

                   4   Goldman’s counsel and/or N. Goldman from being able to collect on the Orders.

                   5             91.   The Debtor caused the Police Report to be filed with the express purpose of

                   6   shielding the Bayview Furnishings and concealing the fraudulent nature of the March 2017

                   7   Bayview Transfer and the A. Goldman Transfers from the Debtor’s creditors.

                   8             92.   At all relevant times, the Transfers of the Debtor’s personal property are avoidable

                   9   as fraudulent pursuant to 11 U.S.C. §§544(b) and 550, and Fla. Stat. Ann. § 726.105(1)(a) by one

                10     or more creditors who held and hold unsecured claims against the Debtor that were and are

                11     allowable against his Estate under 11 U.S.C. § 502 or that were not and are not allowable only

                12     under 11 U.S.C. § 502(e).

                13               93.   By reason of the foregoing, the Trustee may avoid the Transfers under 11 U.S.C.

                14     § 544(b) and Fla. Stat. Ann. § 726.105(1)(a).

                15                                       THIRD CLAIM FOR RELIEF

                16           Avoidance of Actual Fraudulent Transfer Against Defendants Revivo, Ross Art Group,

                17                                     Hamblet, Argall, and A. Goldman

                18                                          [11 U.S.C. §548(a)(1)(A)]

                19               94.   Plaintiff repeats and realleges each of the allegations set forth above as if fully set

                20     forth herein.

                21               95.   The Transfers of the Debtor’s personal property to Revivo, Ross Art Group,

                22     Hamblet, Argall, and Goldman occurred within the two (2) years prior to the Petition Date.

                23               96.   Accordingly, the Transfers are avoidable, and should be avoided, as fraudulent

                24     pursuant to 11 U.S.C. § 548(a)(1)(A).

                25     ///

                26     ///

                27     ///

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                                                                       - 14 -
                Case 1:20-ap-01118-MB             Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34               Desc
                                                  Main Document   Page 15 of 96


                   1                                    FOURTH CLAIM FOR RELIEF

                   2   AVOIDANCE OF CONSTRUCTIVELY FRAUDULENT TRANSFER Against Defendants

                   3                        Revivo, Ross Art Group, Hamblet, Argall, and Andrew

                   4        [11 U.S.C. §§ 544(B), 548(A)(1)(B) AND 550; AND Fla. Stat. Ann. § 726.105(1)(b)]

                   5          97.      Plaintiff repeats and realleges each of the allegations set forth above as if fully set

                   6   forth herein.

                   7          98.      The Debtor did not receive reasonably equivalent value in exchange for any of the

                   8   Transfers of the Debtor’s personal property.

                   9          99.      The Debtor received a nominal $10,000 for the 900 Paintings, which were worth

                10     approximately $900,000 at the time of the March 2017 Revivo Transfer.

                11            100.     The Debtor received a nominal $10,000 for the Bayview Furnishings, which were

                12     worth at least $719,250 at the time of the March 2017 Bayview Transfer.

                13            101.     The Debtor received nominal consideration, if any, for the 100 Paintings, which

                14     were worth approximately $100,000 at the time of the July 2017 Transfer.

                15            102.     The Debtor received nominal consideration, if any, for the personal property

                16     transferred to A. Goldman, which was worth at least $40,500 on the date of the A. Goldman

                17     Transfers.

                18            103.     At the time of each of the Transfers, the Debtor either:

                19                  a. Was insolvent on the dates the Transfers were made, or became insolvent as a result

                20                     thereof;

                21                  b. Was engaged or was about to engage in a business or a transaction for which any

                22                     property remaining of the Debtor was of unreasonably small capital; or

                23                  c. Intended to incur, or believed that he would incur, debts beyond his ability to pay as

                24                     such debts matured.

                25            104.     On information and belief, the Debtor was insolvent, or became insolvent as a result

                26     of each of the Transfers.

                27            105.     On information and belief, the Debtor was not paying at least the following debts as

                28     they came due:
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                                                                       - 15 -
                Case 1:20-ap-01118-MB           Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34                 Desc
                                                Main Document   Page 16 of 96


                   1              a. The Domestic Support Obligations;

                   2              b. A debt of approximately $33,070.26 owed to his former counsel, Weintraub and

                   3                   Selth;

                   4              c. Attorneys’ fees and costs ordered paid by the State Court in connection with the

                   5                   Dissolution Action; and

                   6              d. American Express Card charges.

                   7          106.     On information and belief, there exist other creditors of the Debtor whose claims

                   8   arose before each of the Transfers were made.

                   9          107.     Accordingly, the Transfers are avoidable, and should be avoided, as constructively

                10     fraudulent pursuant to 11 U.S.C. §§544(b), 548(a)(1)(B) and 550, and Fla. Stat. Ann.

                11     § 726.105(1)(b).

                12                                       FIFTH CLAIM FOR RELIEF

                13        Recovery and Preservation of Avoided Transfers Against Defendants Revivo, Ross Art

                14                                 Group, Hamblet, Argall, and A. Goldman

                15                           [11 U.S.C. §§ 550, 551; AND Fla. Stat. Ann. § 726.105]

                16            108.     Plaintiff repeats and realleges each of the allegations set forth above as if fully set

                17     forth herein.

                18            109.     The Transfers, and each of them, were either (i) incurred and made with the actual

                19     intent to hinder, delay, or defraud creditors of the Debtor; or (ii) were made for less than reasonably

                20     equivalent value when the Debtor was insolvent or not paying his debts as they came due.

                21            110.     Accordingly, each of the Transfers made by the Debtor should be avoided as

                22     fraudulent as set forth in the Trustee’s Second through Fourth Claims, above, and such property, or

                23     the value thereof, should be recovered and preserved for the benefit of the Estate pursuant to

                24     11 U.S.C. § 550 and Fla. Stat. Ann. § 726.105.

                25                                       SIXTH CLAIM FOR RELIEF

                26                        Conversion Against Defendants Revivo, Hamblet, and Argall

                27            111.     Plaintiff repeats and realleges each of the allegations set forth above as if fully set

                28     forth herein.
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                                                                       - 16 -
                Case 1:20-ap-01118-MB           Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34                  Desc
                                                Main Document   Page 17 of 96


                   1           112.     After the Debtor filed his chapter 7 bankruptcy petition, Revivo began selling the

                   2   900 Paintings.

                   3           113.     Revivo converted the proceeds from the 900 Paintings to his own benefit and use,

                   4   the exact amount of which according to proof at trial.

                   5           114.     To the extent that Hamblet and Argall took the Bayview Furnishings without the

                   6   Debtor’s permission, Hamblet and Argall have converted the Bayview Furnishings to their own

                   7   benefit and use, the exact amount of which according to proof at trial.

                   8                                    SEVENTH CLAIM FOR RELIEF

                   9                          Turnover of Estate Property Against All Defendants

                10                                                [11 U.S.C. § 542]

                11             115.     Plaintiff repeats and realleges each of the allegations set forth above as if fully set

                12     forth herein.

                13             116.     The 900 Paintings are property of the Estate and are not of inconsequential value to

                14     the Estate.

                15             117.     The 100 Paintings are property of the Estate and are not of inconsequential value to

                16     the Estate.

                17             118.     The Bayview Furnishings are property of the Estate and are not of inconsequential

                18     value to the Estate.

                19             119.     The proceeds from the Intellectual Property are property of the Estate and are not of

                20     inconsequential value to the Estate.

                21             120.     The Bayview Furnishings retained by the Debtor, including, but not limited to, two

                22     vintage 1930’s film lot lights worth approximately $5,000 each, an original Porky Pig from a 1920’s

                23     carnival ride, and some African art, are all property of the Estate that is not of inconsequential value

                24     to the Estate.

                25             121.     Accordingly, the Trustee is entitled to a judgment for turnover of the 900 Paintings,

                26     the 100 Paintings, the Bayview Furnishings, and proceeds from the Intellectual Property from the

                27     Defendants, or the value thereof, the exact amount and/or value of which according to proof at trial.

                28     ///
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                                                                        - 17 -
                Case 1:20-ap-01118-MB          Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34                  Desc
                                               Main Document   Page 18 of 96


                   1                                    EIGHTH CLAIM FOR RELIEF

                   2                    Accounting of Property of the Estate Against All Defendants

                   3                                             [11 U.S.C. § 542]

                   4          122.     Plaintiff repeats and realleges each of the allegations set forth above as if fully set

                   5   forth herein.

                   6          123.     Plaintiff is informed and believes and based thereon alleges that each of the

                   7   Defendants may have received transfers of prepetition assets of the Debtor and are thus in

                   8   possession of property of this Estate.

                   9          124.     Accordingly, the Defendants, and each of them, are required to account for such

                10     property as follows:

                11                a. The Trustee is entitled to an accounting for all transfers from the Debtor to Revivo

                12                     prepetition, including the exact identification of which assets were transferred by

                13                     the Debtor to Revivo, whether Revivo still has possession, custody or control of any

                14                     of the Debtor’s prepetition assets, and whether any prepetition property of the

                15                     Debtor was sold, transferred or otherwise alienated by Revivo.

                16                b. The Trustee is entitled to an accounting for all transfers from the Debtor to Ross Art

                17                     Group prepetition, including the exact identification of which assets were

                18                     transferred by the Debtor to Ross Art Group, whether Ross Art Group still has

                19                     possession, custody or control of any of the Debtor’s prepetition assets, and whether

                20                     any prepetition property of the Debtor was sold, transferred or otherwise alienated

                21                     by Ross Art Group.

                22                c. The Trustee is entitled to an accounting for all transfers from the Debtor to Hamblet

                23                     prepetition, including the exact identification of which assets were transferred by

                24                     the Debtor to Hamblet, whether Hamblet still has possession, custody or control of

                25                     any of the Debtor’s prepetition assets, and whether any prepetition property of the

                26                     Debtor was sold, transferred or otherwise alienated by Hamblet.

                27                d. The Trustee is entitled to an accounting for all transfers from the Debtor to Argall

                28                     prepetition, including the exact identification of which assets were transferred by
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                                                                       - 18 -
                Case 1:20-ap-01118-MB          Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34                 Desc
                                               Main Document   Page 19 of 96


                   1                  the Debtor to Argall, whether Argall still has possession, custody or control of any

                   2                  of the Debtor’s prepetition assets, and whether any prepetition property of the

                   3                  Debtor was sold, transferred or otherwise alienated by Argall.

                   4               e. The Trustee is entitled to an accounting for all transfers from the Debtor to A.

                   5                  Goldman prepetition, including the exact identification of which assets were

                   6                  transferred by the Debtor to A. Goldman, whether A. Goldman still has possession,

                   7                  custody or control of any of the Debtor’s prepetition assets, and whether any

                   8                  prepetition property of the Debtor was sold, transferred or otherwise alienated by A.

                   9                  Goldman.

                10                 f. The Trustee is entitled to an accounting for all prepetition Intellectual Property in

                11                    the possession, custody or control of D&G, and whether any prepetition property of

                12                    the Debtor was sold, transferred or otherwise alienated by D&G postpetition.

                13                 g. The Trustee is entitled to an accounting for all prepetition Intellectual Property in

                14                    the possession, custody or control of Nerf Pong, and whether any prepetition

                15                    property of the Debtor was sold, transferred or otherwise alienated by Nerf Pong

                16                    postpetition.

                17                 h. Finally, the Trustee is entitled to an accounting for all prepetition assets the Debtor

                18                    has in his possession, custody or control, and whether any prepetition property of

                19                    the Debtor was sold, transferred or otherwise alienated by the Debtor postpetition.

                20                                          PRAYER FOR RELIEF

                21            WHEREFORE, Plaintiff requests judgment on his Complaint as follows:

                22            1.      On the First Claim for Relief, a declaratory judgment determining the nature and

                23     extent of the Debtor’s interest in D&G, Nerf Pong, and the Intellectual Property, and the nature and

                24     extent of the Debtor’s interest in proceeds from the Intellectual Property;

                25            2.      On the Second, Third, Fourth and Fifth Claims for Relief, avoiding and recovering

                26     the Transfers of the Debtor’s personal property, or the value thereof, for the benefit of the Estate;

                27            3.      On the Sixth Claim for Relief, for actual damages in an amount to be proven at trial;

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                                                                       - 19 -
                Case 1:20-ap-01118-MB          Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34                 Desc
                                               Main Document   Page 20 of 96


                   1          4.      On the Seventh Claim for Relief, for turnover of the 900 Paintings, the 100

                   2   Paintings, the Bayview Furnishings, and proceeds from the Intellectual Property, or the value

                   3   thereof;

                   4          5.      On the Eighth Claim for Relief, ordering the Defendants to provide detailed records

                   5   of transactions involving the Debtor’s prepetition assets and account for such property of the estate;

                   6          6.      For costs of suit; and

                   7          7.      For such other and further relief as the Court may deem appropriate.

                   8

                   9     Dated: December 9, 2020                      ARENT FOX LLP
                10

                11                                                  By: /s/ Annie Y. Stoops
                12                                                    Aram Ordubegian
                                                                      Annie Y. Stoops
                13                                                    Dylan J. Yamamoto
                                                                      Proposed Special Litigation Counsel
                14                                                    for Chapter 7 Trustee

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                                                                       - 20 -
Case 1:20-ap-01118-MB   Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34   Desc
                        Main Document   Page 21 of 96




                    EXHIBIT 1
          Case 1:20-ap-01118-MB             Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34                   Desc
                                            Main Document   Page 22 of 96




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         David & Goliath, Inc.          Wee wee! : no. 4215.                                           VA0001244060       2004
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[ 82 ]

         David & Goliath, Inc.          You Rock, You Rule.                                            VA0001771842       2007
[ 83 ]

         David & Goliath, Inc.          You smelt it, you dealt it! : no. 2551.                        VA0001266074       2004
[ 84 ]




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         Case 1:20-ap-01118-MB               Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34                            Desc
                                             Main Document   Page 23 of 96




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                               Goodbye Kitty 2005 wall calendar.                                              TX0006101243          2004
[ 52 ]   Inc.
         David & Goliath,
                               Goodbye Kitty Spring 2002.                                                     VA0001665309          2001
[ 53 ]   Inc.
         David & Goliath,
                               Guy magnet : no. 4208.                                                         VA0001244059          2004
[ 54 ]   Inc.
         David & Goliath,
                               Have a smelly valentines! : no. 4424.                                          VA0001244057          2004
[ 55 ]   Inc.
         David & Goliath,
                               I just wanted some cheese : no. 4000.                                          VA0001266069          2004
[ 56 ]   Inc.
         David & Goliath,
                               I only wipe when it starts to itch : no. 2549.                                 VA0001256491          2004
[ 57 ]   Inc.
         David & Goliath,
                               If boys are so brave, why do they run from cats? : no. 1753.                   VA0001255718          2002
[ 58 ]   Inc.
         David & Goliath,
                               I'll show you mine, if you show me yours : no. 4207.                           VA0001244061          2004
[ 59 ]   Inc.
         David & Goliath,
                               I'm good in the sack : no. 4313.                                               VA0001255650          2004
[ 60 ]   Inc.
         David & Goliath,
                               It's all fun and games, until someone loses an eye--then it's a party! : no. 3155. VA0001244074      2004
[ 61 ]   Inc.
         David & Goliath,
                               KIA advertising campaign.                                                      PAu002484072          2000
[ 62 ]   Inc.
         David & Goliath,
                               Lobotomy, how to train boys : no. 1205.                                        VA0001256485          2000
[ 63 ]   Inc.
         David & Goliath,
                               MEET ALL THE LITTLE LOSERS.                                                    VA0001688782          2007
[ 64 ]   Inc.
         David & Goliath,
                               MEET ALL THE LITTLE LOSERS.                                                    VA0001688781          2007
[ 65 ]   Inc.
         David & Goliath,
                               No. 2553.                                                                      VA0001256497          2004
[ 66 ]   Inc.
         David & Goliath,
                               Not again! : no. 3176.                                                         VA0001266067          2004
[ 67 ]   Inc.
         David & Goliath,


                                                                                                                                           22
             Case 1:20-ap-01118-MB                Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34                                   Desc
                                                  Main Document   Page 24 of 96




[ 68 ]    Inc.                     Once I ate dog food and it got me real sick : no. 1678.                              VA0001256483             2002

          David & Goliath,
                                   Once I farted in class and everyone laughed : no. 1681.                              VA0001244069             2002
[ 69 ]    Inc.
          David & Goliath,
                                   Please don't feed the boys! : no. 3177.                                              VA0001256492             2004
[ 70 ]    Inc.
          David & Goliath,
                                   Proof that not all boys are stupid : no. 4316.                                       VA0001244072             2004
[ 71 ]    Inc.
          David & Goliath,
                                   Sling-shots are dangerous, so aim good! : no. 1866.                                  VA0001266068             2002
[ 72 ]    Inc.
          David & Goliath,         Sometimes I like to run around in just my stinky socks for no reason : no.
                                                                                                                        VA0001244071             2004
[ 73 ]    Inc.                     4155.
          David & Goliath,
                                   Sometimes I like to run around in my underwear for no reason : no. 1679.             VA0001266073             2002
[ 74 ]    Inc.
          David & Goliath,
                                   Stupid factory where boys are made : no. 2020.                                       VA0001266071             2002
[ 75 ]    Inc.

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          Case 1:20-ap-01118-MB                Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34                             Desc
                                               Main Document   Page 25 of 96




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   [ 28 ] David & Goliath, Inc. Boys cheat--cut off their feet : no. 4213.                                         VA0001244077        2004
   [ 29 ] David & Goliath, Inc. Boys eat boogers when nobody's watching : no. 1865.                                VA0001256490        2002
   [ 30 ] David & Goliath, Inc. Boys eat bugs! : no. 2000.                                                         VA0001266070        2002
   [ 31 ] David & Goliath, Inc. Boys eat dirt : no. 2546.                                                          VA0001256484        2004
   [ 32 ] David & Goliath, Inc. Boys eat paste : no. 1864.                                                         VA0001266072        2002
   [ 33 ] David & Goliath, Inc. Boy's lie, make them cry! : no. 1922.                                              VA0001256489        2002
   [ 34 ] David & Goliath, Inc. Boys lie, throw pie! : no. 2550.                                                   VA0001256481        2004
   [ 35 ] David & Goliath, Inc. Boys make good pets, everyone should own one : no. 1751.                           VA0001244070        2002
   [ 36 ] David & Goliath, Inc. Boys make ugly girls : no. 2562.                                                   VA0001256486        2004
   [ 37 ] David & Goliath, Inc. Boys pee on toilet seats! : no. 4210.                                              VA0001244068        2004
   [ 38 ] David & Goliath, Inc. Boys stink : no. 3175.                                                             VA0001256408        2004
   [ 39 ] David & Goliath, Inc. Boys wet their pants when no one's watching! : no. 4212.                           VA0001244076        2004
   [ 40 ] David & Goliath, Inc. Brown noser : no. 4073.                                                            VA0001255721        2004
   [ 41 ] David & Goliath, Inc. Buster brown.                                                                      VAu000717225        2006
   [ 42 ] David & Goliath, Inc. Chicks dig metal! : no. 2556.                                                      VA0001256495        2004
   [ 43 ] David & Goliath, Inc. Chicks rule!                                                                       VA0001266048        2004
   [ 44 ] David & Goliath, Inc. Cross your t's and dot your i's : no. 4216.                                        VA0001244063        2004
   [ 45 ] David & Goliath, Inc. Cutie.                                                                             VA0001266047        2004
   [ 46 ] David & Goliath, Inc. Don't eat poop, unless you wash it first : no. 2552.                               VA0001256488        2004
   [ 47 ] David & Goliath, Inc. Don't kick a cat--unless it's over 3 pounds : no. 4209.                            VA0001244064        2004
   [ 48 ] David & Goliath, Inc. Don't put a cat on your head, it hurts real bad : no. 1680.                        VA0001256487        2002
   [ 49 ] David & Goliath, Inc. Don't stick a fork in the electrical socket. It doesn't feel so good : no. 4214.   VA0001244075        2004
   [ 50 ] David & Goliath, Inc. Evolution of a boy : no. 1947.                                                     VA0001256494        2002

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                                            Main Document   Page 26 of 96




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                                                            1 26 51 76


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                                                                                                   Copyright
   #          Name (NALL) <                                         Full Title                                     Date
                                                                                                    Number




   [ 8 ] David & Goliath, Inc.    Boogers are a good source of protein : no. 4314.               VA0001274314      2004
   [ 9 ] David & Goliath, Inc.    Books "boys are stupid, throw rocks at them & 1 other title.   V3608D186         2011

         David & Goliath, Inc.    Boy, girl, boy, girl.                                          VA0001266516      2002
[ 10 ]

         David & Goliath, Inc.    Boys are afraid of the dark! : no. 1915.                       VA0001244065      2002
[ 11 ]

         David & Goliath, Inc.    Boys are dumb : no. 1023.                                      VA0001256496      2000
[ 12 ]

         David & Goliath, Inc.    Boys are jerks, make them wear ugly skirts : no. 4075.         VA0001255719      2004
[ 13 ]

         David & Goliath, Inc.    Boys are smelly.                                               VA0001266044      2004
[ 14 ]

         David & Goliath, Inc.    Boys are smelly, kick them in the belly : no. 4211.            VA0001255720      2004
[ 15 ]

         David & Goliath, Inc.    Boys are smelly : no. 1029.                                    VA0001266065      2000
[ 16 ]

         David & Goliath, Inc.    Boys are so dumb, they can't even chew : no. 2563.             VA0001256493      2004
[ 17 ]

         david & goliath, Inc.    Boys are stupid 2005 wall calendar.                            TX0006101261      2004
[ 18 ]



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             Case 1:20-ap-01118-MB                Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34                                  Desc
                                                  Main Document   Page 27 of 96




         David & Goliath, Inc.         Boys are stupid 2006 wall calendar.                                                 TX0006180816         2005
[ 19 ]

         David & Goliath, Inc.         Boys are stupid, just ask cupid! : no. 4423.                                        VA0001255722         2004
[ 20 ]

         David & Goliath, Inc.         Boys are stupid, throw rocks at them!                                               VA0001269154         2002
[ 21 ]

         David & Goliath, Inc.         Boys Are Stupid, Throw Rocks At Them! & 1 other titles; ; books.                    V9938D305            2016
[ 22 ]

         David & Goliath, Inc.         Boys are stupid, throw snowballs at them! : no. 4427.                               VA0001266066         2004
[ 23 ]

         David & Goliath, Inc.         Boys are stupider, send them to Jupiter : no. 2071.                                 VA0001244067         2002
[ 24 ]

         David & Goliath, Inc.         Boys can't accessorize : no. 4072.                                                  VA0001244062         2004
[ 25 ]

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                              Selected all Pages
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                                               Main Document   Page 28 of 96




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    #       Name (NALL) <                                         Full Title                                       Copyright Number Date
   [ 26 ] David & Goliath, Inc. Boys can't do laundry : no. 4074.                                                  VA0001244066        2004
   [ 27 ] David & Goliath, Inc. Boys can't swim : no. 4422.                                                        VA0001244073        2004
   [ 28 ] David & Goliath, Inc. Boys cheat--cut off their feet : no. 4213.                                         VA0001244077        2004
   [ 29 ] David & Goliath, Inc. Boys eat boogers when nobody's watching : no. 1865.                                VA0001256490        2002
   [ 30 ] David & Goliath, Inc. Boys eat bugs! : no. 2000.                                                         VA0001266070        2002
   [ 31 ] David & Goliath, Inc. Boys eat dirt : no. 2546.                                                          VA0001256484        2004
   [ 32 ] David & Goliath, Inc. Boys eat paste : no. 1864.                                                         VA0001266072        2002
   [ 33 ] David & Goliath, Inc. Boy's lie, make them cry! : no. 1922.                                              VA0001256489        2002
   [ 34 ] David & Goliath, Inc. Boys lie, throw pie! : no. 2550.                                                   VA0001256481        2004
   [ 35 ] David & Goliath, Inc. Boys make good pets, everyone should own one : no. 1751.                           VA0001244070        2002
   [ 36 ] David & Goliath, Inc. Boys make ugly girls : no. 2562.                                                   VA0001256486        2004
   [ 37 ] David & Goliath, Inc. Boys pee on toilet seats! : no. 4210.                                              VA0001244068        2004
   [ 38 ] David & Goliath, Inc. Boys stink : no. 3175.                                                             VA0001256408        2004
   [ 39 ] David & Goliath, Inc. Boys wet their pants when no one's watching! : no. 4212.                           VA0001244076        2004
   [ 40 ] David & Goliath, Inc. Brown noser : no. 4073.                                                            VA0001255721        2004
   [ 41 ] David & Goliath, Inc. Buster brown.                                                                      VAu000717225        2006
   [ 42 ] David & Goliath, Inc. Chicks dig metal! : no. 2556.                                                      VA0001256495        2004
   [ 43 ] David & Goliath, Inc. Chicks rule!                                                                       VA0001266048        2004
   [ 44 ] David & Goliath, Inc. Cross your t's and dot your i's : no. 4216.                                        VA0001244063        2004
   [ 45 ] David & Goliath, Inc. Cutie.                                                                             VA0001266047        2004
   [ 46 ] David & Goliath, Inc. Don't eat poop, unless you wash it first : no. 2552.                               VA0001256488        2004
   [ 47 ] David & Goliath, Inc. Don't kick a cat--unless it's over 3 pounds : no. 4209.                            VA0001244064        2004
   [ 48 ] David & Goliath, Inc. Don't put a cat on your head, it hurts real bad : no. 1680.                        VA0001256487        2002
   [ 49 ] David & Goliath, Inc. Don't stick a fork in the electrical socket. It doesn't feel so good : no. 4214.   VA0001244075        2004
   [ 50 ] David & Goliath, Inc. Evolution of a boy : no. 1947.                                                     VA0001256494        2002

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                                             Main Document   Page 29 of 96




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                                                                                                                   Copyright
    #      Name (NALL) <                                           Full Title                                                       Date
                                                                                                                    Number
         David & Goliath,
                               Goodbye kitty.                                                                 VA0001266045          2004
[ 51 ]   Inc.
         David & Goliath,
                               Goodbye Kitty 2005 wall calendar.                                              TX0006101243          2004
[ 52 ]   Inc.
         David & Goliath,
                               Goodbye Kitty Spring 2002.                                                     VA0001665309          2001
[ 53 ]   Inc.
         David & Goliath,
                               Guy magnet : no. 4208.                                                         VA0001244059          2004
[ 54 ]   Inc.
         David & Goliath,
                               Have a smelly valentines! : no. 4424.                                          VA0001244057          2004
[ 55 ]   Inc.
         David & Goliath,
                               I just wanted some cheese : no. 4000.                                          VA0001266069          2004
[ 56 ]   Inc.
         David & Goliath,
                               I only wipe when it starts to itch : no. 2549.                                 VA0001256491          2004
[ 57 ]   Inc.
         David & Goliath,
                               If boys are so brave, why do they run from cats? : no. 1753.                   VA0001255718          2002
[ 58 ]   Inc.
         David & Goliath,
                               I'll show you mine, if you show me yours : no. 4207.                           VA0001244061          2004
[ 59 ]   Inc.
         David & Goliath,
                               I'm good in the sack : no. 4313.                                               VA0001255650          2004
[ 60 ]   Inc.
         David & Goliath,
                               It's all fun and games, until someone loses an eye--then it's a party! : no. 3155. VA0001244074      2004
[ 61 ]   Inc.
         David & Goliath,
                               KIA advertising campaign.                                                      PAu002484072          2000
[ 62 ]   Inc.
         David & Goliath,
                               Lobotomy, how to train boys : no. 1205.                                        VA0001256485          2000
[ 63 ]   Inc.
         David & Goliath,
                               MEET ALL THE LITTLE LOSERS.                                                    VA0001688782          2007
[ 64 ]   Inc.
         David & Goliath,
                               MEET ALL THE LITTLE LOSERS.                                                    VA0001688781          2007
[ 65 ]   Inc.
         David & Goliath,
                               No. 2553.                                                                      VA0001256497          2004
[ 66 ]   Inc.
         David & Goliath,
                               Not again! : no. 3176.                                                         VA0001266067          2004
[ 67 ]   Inc.
         David & Goliath,


                                                                                                                                           28
             Case 1:20-ap-01118-MB                Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34                                   Desc
                                                  Main Document   Page 30 of 96




[ 68 ]    Inc.                     Once I ate dog food and it got me real sick : no. 1678.                              VA0001256483             2002

          David & Goliath,
                                   Once I farted in class and everyone laughed : no. 1681.                              VA0001244069             2002
[ 69 ]    Inc.
          David & Goliath,
                                   Please don't feed the boys! : no. 3177.                                              VA0001256492             2004
[ 70 ]    Inc.
          David & Goliath,
                                   Proof that not all boys are stupid : no. 4316.                                       VA0001244072             2004
[ 71 ]    Inc.
          David & Goliath,
                                   Sling-shots are dangerous, so aim good! : no. 1866.                                  VA0001266068             2002
[ 72 ]    Inc.
          David & Goliath,         Sometimes I like to run around in just my stinky socks for no reason : no.
                                                                                                                        VA0001244071             2004
[ 73 ]    Inc.                     4155.
          David & Goliath,
                                   Sometimes I like to run around in my underwear for no reason : no. 1679.             VA0001266073             2002
[ 74 ]    Inc.
          David & Goliath,
                                   Stupid factory where boys are made : no. 2020.                                       VA0001266071             2002
[ 75 ]    Inc.

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                                            Main Document   Page 31 of 96




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   #            Name (NALL) <                                           Full Title                                        Date
                                                                                                           Number

         David & Goliath, Inc.          Sweet-n-sour puss.                                             VAu000629041       2004
[ 76 ]

         David & Goliath, Inc.          Swirlies are fun! : no. 4084.                                  VA0001244058       2004
[ 77 ]

         David & Goliath, Inc.          Trendy Wendy 2006 wall calendar.                               TX0006180815       2005
[ 78 ]

         David & Goliath, Inc.          Types of men, pick one.                                        VA0001299549       2004
[ 79 ]

         David & Goliath, Inc.          Wacky world of David & Goliath: sticker-a-day 2005 calendar.   TX0006033674       2004
[ 80 ]

         David & Goliath, Inc.          Wee wee! : no. 4215.                                           VA0001244060       2004
[ 81 ]

         David & Goliath, Inc.          Who farted? : no. 2548.                                        VA0001256482       2004
[ 82 ]

         David & Goliath, Inc.          You Rock, You Rule.                                            VA0001771842       2007
[ 83 ]

         David & Goliath, Inc.          You smelt it, you dealt it! : no. 2551.                        VA0001266074       2004
[ 84 ]




                                                                                                                                 30
         Case 1:20-ap-01118-MB             Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34            Desc
                                           Main Document   Page 32 of 96




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                                               1 26 51 76 101 126 ... 9976


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                                                                                                   Set Search Limits
 Resort results by:   Relevance



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    #       Relevance                                 Full Title                                                Date
                                                                                                  Number
   [1]                  Hot Rod Hot Dog.                                                    TX0008335313 2016
   [2]                  Veggies with Wedgies.                                               TX0007895332 2014
   [3]                  One Potato, Two Potato.                                             TX0007789020 2013
   [4]                  BUS DRIVER.                                                         TX0007694279 2013
   [5]                  PEAS ON EARTH.                                                      TX0007586942 2012
   [6]                  ANIMAL SOUP.                                                        TX0007213527 2010
   [7]                  ZOO I DREW.                                                         TX0007043289 2009
   [8]                  How to break up with your boyfriend.                                VA0001135897 2000
   [9]                  [Girlie girl]                                                       VA0001135896 2000
   [ 10 ]               Ex-boyfriend.                                                       VA0001135895 2000
   [ 11 ]               How to get a boyfriend.                                             VA0001135894 2000
   [ 12 ]               Boys are smelly.                                                    VA0001135893 2000
   [ 13 ]               Boys are stupid 2006 wall calendar.                                 TX0006180816 2005
   [ 14 ]               Trendy Wendy 2006 wall calendar.                                    TX0006180815 2005
   [ 15 ]               Boys are stupid, throw rocks at them!                               TX0006164201 2005
   [ 16 ]               Boys are stupid 2005 wall calendar.                                 TX0006101261 2004
   [ 17 ]               Goodbye Kitty 2005 wall calendar.                                   TX0006101243 2004
                        Local option taxes and the new subregionalism in transportation
   [ 18 ]                                                                                   TX0005931975 2004
                        planning.
                        Recycling as economic development : toward a framework for strategic
   [ 19 ]                                                                                    TX0004559670 1997
                        materials planning.
   [ 20 ]               Man who played God.                                                 PA0000993164 1994

                                                                                                                       31
           Case 1:20-ap-01118-MB            Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34     Desc
                                            Main Document   Page 33 of 96




  [ 21 ]               All that glisters.                                                 PAu001671704 1992
  [ 22 ]               Bikeweek : television show proposal.                               PAu001652214 1992
  [ 23 ]               Man who played God.                                                V2981P485        1994
  [ 24 ]               Boys Are Stupid, Throw Rocks At Them! & 1 other titles; ; books.   V9938D305        2016
  [ 25 ]               RAWR!                                                              TX0007790647 2013

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                                    Main Document   Page 34 of 96




Public Catalog
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                                        Life Sucks and Then You Die.

              Type of Work: Text
Registration Number / Date: TX0007450084 / 2011-11-17
           Application Title: Life Sucks and Then You Die.
                       Title: Life Sucks and Then You Die.
                 Description: Book.
       Copyright Claimant: Todd Harris Goldman. Address: c/o Perseus Books Group, 44 Farnsworth Street, 3rd
                              Floor, Boston, MA, 02210, United States.
           Date of Creation: 2011
        Date of Publication: 2011-10-04
 Nation of First Publication: United States
 Authorship on Application: Todd Harris Goldman; Domicile: United States; Citizenship: United States.
                              Authorship: text, artwork.
    Rights and Permissions: Perseus Books Group, 11 Cambridge Center, Cambridge, MA, 02142, (617) 252-
                              5257, permissions@perseusbooks.com
                     Names: Goldman, Todd Harris




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                                    Main Document   Page 35 of 96




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                                             PEAS ON EARTH.

              Type of Work: Text
Registration Number / Date: TX0007586942 / 2012-09-04
           Application Title: PEAS ON EARTH.
                       Title: PEAS ON EARTH.
                 Description: Book,.
       Copyright Claimant: Todd Harris Goldman, Transfer: By written agreement. Address: c/o Painted Words,
                              Inc., 310 West 97th Street, #24, New York, NY, 10025.
           Date of Creation: 2011
        Date of Publication: 2012-02-14
 Nation of First Publication: United States
 Authorship on Application: Todd H. Doodler (author of pseudonymous work); Citizenship: United States.
                              Authorship: text, artwork.
    Rights and Permissions: Bette Graber, Robin Corey Books, an imprint of Random House Children’s Books, a
                              division of Random House, Inc., Random House, Inc., 1745 Broadway, New York,
                              NY, 10019, (212) 572-2707, bgraber@randomhouse.com
                     ISBN: 9780307930880
                    Names: Doodler, Todd H.
                           Goldman, Todd Harris




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                                     Main Document   Page 36 of 96




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                           Boys Are Stupid, Throw Rocks At Them! & 1 other titles;

              Type of Work: Recorded Document
         Document Number: V9938D305
        Date of Recordation: 2016-07-15
Entire Copyright Document: V9938 D305 P1-3
          Date of Execution: as of 18Sep15; 21May16
       Date of Certification: 07/13/2016
                        Title: Boys Are Stupid, Throw Rocks At Them! & 1 other titles; ; books.
                       Notes: Short form option.
                    Party 1: Todd Harris Goldman & David & Goliath, Inc.
                    Party 2: Universal Pictures, a division of Universal City Studios, LLC
                      Links: List of Titles
                     Names: Goldman, Todd Harris
                            David & Goliath, Inc.
                            Universal Pictures
                            Universal City Studios, LLC




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                                    Main Document   Page 37 of 96




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                               Veggies with Wedgies Present Doin' the Wedgie.

              Type of Work: Text
Registration Number / Date: TX0008025155 / 2015-02-10
           Application Title: Veggies with Wedgies Present Doin’ the Wedgie.
                       Title: Veggies with Wedgies Present Doin’ the Wedgie.
                 Description: Book.
       Copyright Claimant: Todd H. Doodler. Address: c/o Simon & Schuster, Inc., 1230 Avenue of the
                              Americas, New York, NY, 10020, United States.
           Date of Creation: 2015
        Date of Publication: 2015-01-06
 Nation of First Publication: United States
 Authorship on Application: Todd H. Doodler; Citizenship: United States. Authorship: text, artwork.
    Rights and Permissions: Simon & Schuster Permissions Dept., c/o Simon & Schuster, Inc., 1230 Avenue of
                              the Americas, New York, NY, 10020, United States, (212) 698-7284
                      ISBN: 9781442493513
                     Names: Doodler, Todd H.




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                                    Main Document   Page 38 of 96




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                                                  ANIMAL SOUP.

              Type of Work: Text
Registration Number / Date: TX0007213527 / 2010-09-07
           Application Title: ANIMAL SOUP.
                       Title: ANIMAL SOUP.
                 Description: Book.
       Copyright Claimant: Todd Harris Goldman. Address: c/o Painted Words, Inc., 310 West 97th Street, #24,
                              New York, NY, 10025, United States.
           Date of Creation: 2009
        Date of Publication: 2010-05-11
 Nation of First Publication: United States
 Authorship on Application: Todd H. Doodler, pseud. of Todd Harris Goldman; Domicile: United States;
                              Citizenship: United States. Authorship: text, artwork.
    Rights and Permissions: Alissa Kleinman, Golden Books, an imprint of Random House Children’s Books,
                              Random House, Inc., 1745 Broadway, 3rd Floor, New York, NY, 10019, United
                              States, (212) 782-9375, akleinman@randomhouse.com
                      ISBN: 9780375858086
                     Names: Goldman, Todd Harris
                            Doodler, Todd H., pseud.




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                                    Main Document   Page 39 of 96




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Search Results: Displaying 16 of 36 entries




                                                      Cutie.

              Type of Work: Visual Material
Registration Number / Date: VA0001266047 / 2004-08-13
           Application Title: Cutie pie.
                       Title: Cutie.
                Description: Art reproduction.
       Copyright Claimant: David & Goliath, Inc.
           Date of Creation: 2000
        Date of Publication: approx. 1Jan00
 Authorship on Application: artwork: Todd Goldman, 1968-.
            Copyright Note: C.O. correspondence.
                     Names: Goldman, Todd, 1968-
                            David & Goliath, Inc.




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                                    Main Document   Page 40 of 96




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                                             THE BUS DRIVER.

              Type of Work: Text
Registration Number / Date: TX0007694279 / 2013-03-21
           Application Title: THE BUS DRIVER.
                       Title: THE BUS DRIVER.
                 Description: Book.
       Copyright Claimant: Todd Harris Goldman. Address: c/o Painted Words, Inc., 310 West 97th Street, #24,
                              New York, NY, 10025, United States.
           Date of Creation: 2012
        Date of Publication: 2013-01-08
 Nation of First Publication: United States
 Authorship on Application: Todd H. Doodler, pseud. of Todd Harris Goldman (author of pseudonymous work);
                              Citizenship: United States. Authorship: text, artwork.
    Rights and Permissions: Melanie Flaherty, Robin Corey Books, Random House Children’s Books, Random
                              House, Inc., 1745 Broadway, New York, NY, 10019, United States, (212) 572-2701,
                              mflaherty@randomhouse.com
                      ISBN: 9780307979070
                     Names: Goldman, Todd Harris
                            Doodler, Todd H., pseud.




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                                                                                                                39
       Case 1:20-ap-01118-MB        Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34              Desc
                                    Main Document   Page 41 of 96




Public Catalog
Copyright Catalog (1978 to present)
Search Request: Left Anchored Name = Goldman, TOdd
Search Results: Displaying 21 of 36 entries




                                            Veggies with Wedgies.

              Type of Work: Text
Registration Number / Date: TX0007895332 / 2014-05-08
           Application Title: Veggies with Wedgies.
                       Title: Veggies with Wedgies.
                 Description: Book, 1 v.
       Copyright Claimant: Todd H. Goldman, Transfer: By written agreement. Address: c/o Simon & Schuster,
                              Inc., 1230 Avenue of the Americas, New York, NY, 10020, United States.
           Date of Creation: 2014
        Date of Publication: 2014-05-06
 Nation of First Publication: United States
 Authorship on Application: Todd H. Doodler; Citizenship: United States. Authorship: text, artwork.
    Rights and Permissions: Simon & Schuster Permissions Dept., c/o Simon & Schuster, Inc., 1230 Avenue of
                              the Americas, New York, NY, 10020, United States, (212) 698-7284
                     ISBN: 9781442493407
                    Names: Doodler, Todd H.
                           Goldman, Todd H.




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        Case 1:20-ap-01118-MB       Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34               Desc
                                    Main Document   Page 42 of 96




Public Catalog
Copyright Catalog (1978 to present)
Search Request: Left Anchored Name = Goldman, TOdd
Search Results: Displaying 25 of 36 entries




                                                  Dicktionary.

              Type of Work: Text
Registration Number / Date: TX0007172445 / 2010-04-30
           Application Title: Dicktionary.
                       Title: Dicktionary.
                 Description: Book.
       Copyright Claimant: Todd Harris Goldman. Address: C/O Perseus Books Group, 11 Cambridge Center,
                              Cambridge, MA, 02142, United States.
           Date of Creation: 2010
        Date of Publication: 2010-04-06
 Nation of First Publication: United States
 Authorship on Application: Todd Harris Goldman; Domicile: United States; Citizenship: United States.
                              Authorship: text, artwork.
    Rights and Permissions: Perseus Books Group, 11 Cambridge Center, Cambridge, MA, 02142, (617) 252-
                              5257, permissions@perseusbooks.com
                     Names: Goldman, Todd Harris




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                                                                                                            41
        Case 1:20-ap-01118-MB        Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34               Desc
                                     Main Document   Page 43 of 96




Public Catalog
Copyright Catalog (1978 to present)
Search Request: Left Anchored Name = Goldman, TOdd
Search Results: Displaying 24 of 36 entries




                                             THE ZOO I DREW.

              Type of Work: Text
Registration Number / Date: TX0007043289 / 2009-10-20
           Application Title: THE ZOO I DREW.
                       Title: THE ZOO I DREW.
                 Description: Book.
       Copyright Claimant: Todd Harris Goldman. Address: c/o King Features Syndicate, 300 West 57th Street,
                              15th Floor, New York, NY, 10019, United States.
           Date of Creation: 2009
        Date of Publication: 2009-07-28
 Nation of First Publication: United States
 Authorship on Application: Todd H. Doodler, pseud. of Todd Harris Goldman (author of pseudonymous work);
                              Domicile: United States; Citizenship: United States. Authorship: Entire text and
                              illustrations.
    Rights and Permissions: Alissa Kleinman, Random House Children’s Books, Random House, Inc., 1745
                              Broadway, 3rd Floor, New York, NY, 10019, United States, (212) 782-9375,
                              akleinman@randomhouse.com
                      ISBN: 9780375852015
                     Names: Goldman, Todd Harris
                            Doodler, Todd H., pseud.




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                                                                                                                 42
        Case 1:20-ap-01118-MB       Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34              Desc
                                    Main Document   Page 44 of 96




Public Catalog
Copyright Catalog (1978 to present)
Search Request: Left Anchored Name = Goldman, TOdd
Search Results: Displaying 20 of 36 entries




                                           One Potato, Two Potato.

              Type of Work: Text
Registration Number / Date: TX0007789020 / 2013-10-11
           Application Title: One Potato, Two Potato.
                       Title: One Potato, Two Potato.
                 Description: Book, 1 v.
       Copyright Claimant: Todd H. Goldman. Address: c/o Simon & Schuster, Inc., 1230 Avenue of the
                              Americas, New York, NY, 10020, United States.
           Date of Creation: 2013
        Date of Publication: 2013-10-01
 Nation of First Publication: United States
 Authorship on Application: Todd H. Goldman; Citizenship: United States. Authorship: text, artwork.
    Rights and Permissions: Simon & Schuster Permissions Dept., c/o Simon & Schuster, Inc., 1230 Avenue of
                              the Americas, New York, NY, 10020, United States, (212) 698-7284
                      ISBN: 9781442485174
                     Names: Goldman, Todd H.




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                                                                                                             43
       Case 1:20-ap-01118-MB        Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34               Desc
                                    Main Document   Page 45 of 96




Public Catalog
Copyright Catalog (1978 to present)
Search Request: Left Anchored Name = Goldman, TOdd
Search Results: Displaying 22 of 36 entries




                                              Hot Rod Hot Dog.

              Type of Work: Text
Registration Number / Date: TX0008335313 / 2016-09-26
           Application Title: Hot Rod Hot Dog.
                       Title: Hot Rod Hot Dog.
                 Description: Book.
       Copyright Claimant: Todd H. Goldman. Address: c/o Simon & Schuster, Inc., 1230 Avenue of the
                              Americas, New York, NY, 10020, United States.
           Date of Creation: 2016
        Date of Publication: 2016-08-02
 Nation of First Publication: United States
 Authorship on Application: Todd H. Doodler, pseud. of Todd H. Goldman (author of pseudonymous work);
                              Citizenship: United States. Authorship: text, artwork.
    Rights and Permissions: Simon & Schuster, c/o Simon & Schuster, 1230 Avenue of the Americas - 12th
                              Floor, New York, NY, 10020, United States
                     ISBN: 9781481466073
                    Names: Goldman, Todd H.
                           Todd H. Doodler, pseud.




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                                                                                                         44
        Case 1:20-ap-01118-MB         Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34           Desc
                                      Main Document   Page 46 of 96




Database Name: Copyright Catalog (1978 to present)
: Simple Search = Goldman, Todd
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                                                       RAWR!

              Type of Work: Entry Not Found
Registration Number / Date: TX0007790647 / 2013-10-23
           Application Title: RAWR!
                       Title: RAWR!
                 Description: Book, 1 v.
       Copyright Claimant: Todd Goldman. Address: c/o East West Literary Agency, 1158 26th Street, Suite 462,
                              Santa Monica, CA, 90403, United States.
           Date of Creation: 2013
        Date of Publication: 2013-09-01
 Nation of First Publication: United States
 Authorship on Application: Todd Goldman; Domicile: United States; Citizenship: United States. Authorship:
                              text, artwork.
                     Names: Goldman, Todd




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                                                                                                                45
                 Case 1:20-ap-01118-MB   Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34            Desc
                                         Main Document   Page 47 of 96




Public Catalog
Copyright Catalog (1978 to present)
Search Request: Left Anchored Name = Goldman, Todd
Search Results: Displaying 31 of 36 entries




                                                  Peas on Earth.

              Type of Work: Visual Material
Registration Number / Date: VA0001135898 / 2002-03-26
                      Title: Peas on Earth.
                Description: Art reproduction.
       Copyright Claimant: Todd Goldman, 1968-
           Date of Creation: 2000
        Date of Publication: 2000-11-13
                     Names: Goldman, Todd, 1968-




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                                                                                                            46
        Case 1:20-ap-01118-MB       Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34              Desc
                                    Main Document   Page 48 of 96




Public Catalog
Copyright Catalog (1978 to present)
Search Request: Left Anchored Name = Goldman, Todd
Search Results: Displaying 29 of 36 entries




                                    How to break up with your boyfriend.

              Type of Work: Visual Material
Registration Number / Date: VA0001135897 / 2002-03-26
                      Title: How to break up with your boyfriend.
                Description: Art reproduction.
       Copyright Claimant: Todd Goldman, 1968-
           Date of Creation: 2000
        Date of Publication: 2000-11-13
                     Names: Goldman, Todd, 1968-




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                                                                                                            47
        Case 1:20-ap-01118-MB       Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34                Desc
                                    Main Document   Page 49 of 96




Public Catalog
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Search Request: Left Anchored Name = Goldman, Todd
Search Results: Displaying 27 of 36 entries




                                                  Ex-boyfriend.

              Type of Work: Visual Material
Registration Number / Date: VA0001135895 / 2002-03-26
                      Title: Ex-boyfriend.
                Description: Art reproduction.
       Copyright Claimant: Todd Goldman, 1968-
           Date of Creation: 2000
        Date of Publication: 2000-11-13
                     Names: Goldman, Todd, 1968-




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                                                                                                            48
        Case 1:20-ap-01118-MB       Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34                   Desc
                                    Main Document   Page 50 of 96




Public Catalog
Copyright Catalog (1978 to present)
Search Request: Left Anchored Name = Goldman, Todd
Search Results: Displaying 26 of 36 entries




                                                  Boys are smelly.

              Type of Work: Visual Material
Registration Number / Date: VA0001135893 / 2002-03-26
                      Title: Boys are smelly.
                Description: Art reproduction.
       Copyright Claimant: Todd Goldman, 1968-
           Date of Creation: 2000
        Date of Publication: 2000-11-13
                     Names: Goldman, Todd, 1968-




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                                                                                                            49
        Case 1:20-ap-01118-MB       Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34               Desc
                                    Main Document   Page 51 of 96




Public Catalog
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Search Request: Left Anchored Name = Goldman, Todd
Search Results: Displaying 21 of 36 entries




                                                  Chicks rule!

              Type of Work: Visual Material
Registration Number / Date: VA0001266048 / 2004-08-13
                      Title: Chicks rule!
                Description: Art reproduction.
       Copyright Claimant: David & Goliath, Inc.
           Date of Creation: 2000
        Date of Publication: approx. 1Jan00
 Authorship on Application: artwork: Todd Goldman, 1968-.
            Copyright Note: C.O. correspondence.
                     Names: Goldman, Todd, 1968-
                            David & Goliath, Inc.




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                                                                                                            50
        Case 1:20-ap-01118-MB       Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34                 Desc
                                    Main Document   Page 52 of 96




Public Catalog
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Search Request: Left Anchored Name = Goldman, Todd
Search Results: Displaying 25 of 36 entries




                                                  Goodbye kitty.

              Type of Work: Visual Material
Registration Number / Date: VA0001266045 / 2004-08-13
                      Title: Goodbye kitty.
                Description: Art reproduction.
       Copyright Claimant: David & Goliath, Inc.
           Date of Creation: 2000
        Date of Publication: approx. 1Jan00
 Authorship on Application: artwork: Todd Goldman, 1968-.
            Copyright Note: C.O. correspondence.
                     Names: Goldman, Todd, 1968-
                            David & Goliath, Inc.




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                                                                                                            51
        Case 1:20-ap-01118-MB       Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34                   Desc
                                    Main Document   Page 53 of 96




Public Catalog
Copyright Catalog (1978 to present)
Search Request: Left Anchored Name = Goldman, Todd
Search Results: Displaying 23 of 36 entries




                                                  Boys are smelly.

              Type of Work: Visual Material
Registration Number / Date: VA0001266044 / 2004-08-13
                      Title: Boys are smelly.
                Description: Art reproduction.
       Copyright Claimant: David & Goliath, Inc.
           Date of Creation: 2000
        Date of Publication: approx. 1Jan00
 Authorship on Application: artwork: Todd Goldman, 1968-.
            Copyright Note: C.O. correspondence.
                     Names: Goldman, Todd, 1968-
                            David & Goliath, Inc.




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                                                                                                            52
        Case 1:20-ap-01118-MB        Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34               Desc
                                     Main Document   Page 54 of 96




Public Catalog
Copyright Catalog (1978 to present)
Search Request: Left Anchored Name = Goldman, Todd
Search Results: Displaying 14 of 36 entries




                                 GIRLS ARE WEIRDOS but they smell pretty!

              Type of Work: Text
Registration Number / Date: TX0006952441 / 2008-01-09
           Application Title: GIRLS ARE WEIRDOS but they smell pretty!
                       Title: GIRLS ARE WEIRDOS but they smell pretty!
                 Description: Book, 1 v.
       Copyright Claimant: Todd Harris Goldman. Address: c/o Workman Publishing Co., Inc., 225 Varick
                              Street, New York, New York 10014-4381.
           Date of Creation: 2007
        Date of Publication: 2007-10-01
 Nation of First Publication: United States
 Authorship on Application: Todd Harris Goldman; Citizenship: United States. Authorship: Text and illustrations.
                     Names: Goldman, Todd Harris




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                                                                                                                   53
        Case 1:20-ap-01118-MB       Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34               Desc
                                    Main Document   Page 55 of 96




Public Catalog
Copyright Catalog (1978 to present)
Search Request: Left Anchored Name = Goldman, Todd
Search Results: Displaying 19 of 36 entries




                                                  Fred Is Red.

              Type of Work: Visual Material
Registration Number / Date: VA0001266046 / 2004-08-13
                      Title: Fred Is Red.
                Description: Art reproduction.
       Copyright Claimant: Fred Is Red, Inc.
           Date of Creation: 2003
        Date of Publication: approx. 1Aug03
 Authorship on Application: artwork: Todd Goldman, 1968-, author of a work made for hire.
            Copyright Note: C.O. correspondence.
                     Names: Goldman, Todd, 1968-
                            Fred Is Red, Inc.




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                                                                                                            54
        Case 1:20-ap-01118-MB         Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34              Desc
                                      Main Document   Page 56 of 96




Public Catalog
Copyright Catalog (1978 to present)
Search Request: Left Anchored Name = Goldman, Todd
Search Results: Displaying 17 of 36 entries




                                      Boys are stupid, throw rocks at them!

              Type of Work: Text
Registration Number / Date: TX0006164201 / 2005-04-11
                       Title: Boys are stupid, throw rocks at them!
                      Notes: Cataloged from appl. only.
       Copyright Claimant: Todd Harris Goldman
           Date of Creation: 2005
        Date of Publication: 2005-04-06
                     Names: Goldman, Todd Harris




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                                                                                                            55
        Case 1:20-ap-01118-MB       Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34              Desc
                                    Main Document   Page 57 of 96




Public Catalog
Copyright Catalog (1978 to present)
Search Request: Left Anchored Name = Goldman, Todd
Search Results: Displaying 20 of 36 entries




                                                      Cutie.

              Type of Work: Visual Material
Registration Number / Date: VA0001266047 / 2004-08-13
           Application Title: Cutie pie.
                       Title: Cutie.
                Description: Art reproduction.
       Copyright Claimant: David & Goliath, Inc.
           Date of Creation: 2000
        Date of Publication: approx. 1Jan00
 Authorship on Application: artwork: Todd Goldman, 1968-.
            Copyright Note: C.O. correspondence.
                     Names: Goldman, Todd, 1968-
                            David & Goliath, Inc.




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                                                                                                            56
        Case 1:20-ap-01118-MB       Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34                 Desc
                                    Main Document   Page 58 of 96




Public Catalog
Copyright Catalog (1978 to present)
Search Request: Left Anchored Name = Goldman, Todd
Search Results: Displaying 28 of 36 entries




                                                   [Girlie girl]

              Type of Work: Visual Material
Registration Number / Date: VA0001135896 / 2002-03-26
                       Title: [Girlie girl]
                Description: Art reproduction.
                      Notes: Title from appl.
       Copyright Claimant: Todd Goldman, 1968-
           Date of Creation: 2000
        Date of Publication: 2000-11-13
                     Names: Goldman, Todd, 1968-




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                                                                                                            57
        Case 1:20-ap-01118-MB       Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34              Desc
                                    Main Document   Page 59 of 96




Public Catalog
Copyright Catalog (1978 to present)
Search Request: Left Anchored Name = Goldman, Todd
Search Results: Displaying 30 of 36 entries




                                           How to get a boyfriend.

              Type of Work: Visual Material
Registration Number / Date: VA0001135894 / 2002-03-26
                      Title: How to get a boyfriend.
                Description: Art reproduction.
       Copyright Claimant: Todd Goldman, 1968-
           Date of Creation: 2000
        Date of Publication: 2000-11-13
                     Names: Goldman, Todd, 1968-




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                                                                                                            58
Case 1:20-ap-01118-MB   Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34   Desc
                        Main Document   Page 60 of 96




                    EXHIBIT 2
Case 1:20-ap-01118-MB     Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34         Desc
                          Main Document   Page 61 of 96

  Case 1:18-bk-12979-MB   Claim 13   Filed 09/18/19   Desc Main Document   Page 8 of
                                           31




                                                                                 8


                                                                                        59
Case 1:20-ap-01118-MB     Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34         Desc
                          Main Document   Page 62 of 96

  Case 1:18-bk-12979-MB   Claim 13   Filed 09/18/19   Desc Main Document   Page 9 of
                                           31




                                                                                 9


                                                                                        60
Case 1:20-ap-01118-MB     Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34          Desc
                          Main Document   Page 63 of 96

  Case 1:18-bk-12979-MB   Claim 13   Filed 09/18/19   Desc Main Document   Page 10 of
                                            31




                                                                                10


                                                                                         61
Case 1:20-ap-01118-MB     Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34          Desc
                          Main Document   Page 64 of 96

  Case 1:18-bk-12979-MB   Claim 13   Filed 09/18/19   Desc Main Document   Page 11 of
                                            31




                                                                                11


                                                                                         62
Case 1:20-ap-01118-MB   Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34   Desc
                        Main Document   Page 65 of 96




                    EXHIBIT 3
Case 1:20-ap-01118-MB     Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34          Desc
                          Main Document   Page 66 of 96

  Case 1:18-bk-12979-MB   Claim 13   Filed 09/18/19   Desc Main Document   Page 16 of
                                            31




                                                                                16


                                                                                         63
Case 1:20-ap-01118-MB     Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34          Desc
                          Main Document   Page 67 of 96

  Case 1:18-bk-12979-MB   Claim 13   Filed 09/18/19   Desc Main Document   Page 17 of
                                            31




                                                                                17


                                                                                         64
Case 1:20-ap-01118-MB     Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34          Desc
                          Main Document   Page 68 of 96

  Case 1:18-bk-12979-MB   Claim 13   Filed 09/18/19   Desc Main Document   Page 18 of
                                            31




                                                                                18


                                                                                         65
Case 1:20-ap-01118-MB     Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34          Desc
                          Main Document   Page 69 of 96

  Case 1:18-bk-12979-MB   Claim 13   Filed 09/18/19   Desc Main Document   Page 19 of
                                            31




                                                                                19


                                                                                         66
Case 1:20-ap-01118-MB   Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34   Desc
                        Main Document   Page 70 of 96




                    EXHIBIT 4
Case 1:20-ap-01118-MB     Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34          Desc
                          Main Document   Page 71 of 96

  Case 1:18-bk-12979-MB   Claim 13   Filed 09/18/19   Desc Main Document   Page 23 of
                                            31




                                                                                23


                                                                                         67
Case 1:20-ap-01118-MB     Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34          Desc
                          Main Document   Page 72 of 96

  Case 1:18-bk-12979-MB   Claim 13   Filed 09/18/19   Desc Main Document   Page 24 of
                                            31




                                                                                24


                                                                                         68
Case 1:20-ap-01118-MB     Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34          Desc
                          Main Document   Page 73 of 96

  Case 1:18-bk-12979-MB   Claim 13   Filed 09/18/19   Desc Main Document   Page 25 of
                                            31




                                                                                25


                                                                                         69
Case 1:20-ap-01118-MB     Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34          Desc
                          Main Document   Page 74 of 96

  Case 1:18-bk-12979-MB   Claim 13   Filed 09/18/19   Desc Main Document   Page 26 of
                                            31




                                                                                26


                                                                                         70
Case 1:20-ap-01118-MB     Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34          Desc
                          Main Document   Page 75 of 96

  Case 1:18-bk-12979-MB   Claim 13   Filed 09/18/19   Desc Main Document   Page 27 of
                                            31




                                                                                27


                                                                                         71
Case 1:20-ap-01118-MB   Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34   Desc
                        Main Document   Page 76 of 96




                    EXHIBIT 5
Case 1:20-ap-01118-MB   Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34   Desc
                        Main Document   Page 77 of 96




                                                                                72
Case 1:20-ap-01118-MB   Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34   Desc
                        Main Document   Page 78 of 96




                                                                                73
Case 1:20-ap-01118-MB   Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34   Desc
                        Main Document   Page 79 of 96




                                                                                74
Case 1:20-ap-01118-MB   Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34   Desc
                        Main Document   Page 80 of 96




                                                                                75
Case 1:20-ap-01118-MB   Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34   Desc
                        Main Document   Page 81 of 96




                                                                                76
Case 1:20-ap-01118-MB   Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34   Desc
                        Main Document   Page 82 of 96




                                                                                77
Case 1:20-ap-01118-MB   Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34   Desc
                        Main Document   Page 83 of 96




                                                                                78
Case 1:20-ap-01118-MB   Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34   Desc
                        Main Document   Page 84 of 96




                                                                                79
Case 1:20-ap-01118-MB   Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34   Desc
                        Main Document   Page 85 of 96




                                                                                80
Case 1:20-ap-01118-MB   Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34   Desc
                        Main Document   Page 86 of 96




                                                                                81
Case 1:20-ap-01118-MB   Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34   Desc
                        Main Document   Page 87 of 96




                                                                                82
Case 1:20-ap-01118-MB   Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34   Desc
                        Main Document   Page 88 of 96




                                                                                83
    Case 1:20-ap-01118-MB     Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34   Desc
                              Main Document   Page 89 of 96

Filing # 48581176 E-Filed 11/07/2016 01:50:52 PM




                                                                                      84
Case 1:20-ap-01118-MB   Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34   Desc
                        Main Document   Page 90 of 96




                    EXHIBIT 6
Case 1:20-ap-01118-MB   Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34   Desc
                        Main Document   Page 91 of 96




                                                                                85
Case 1:20-ap-01118-MB   Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34   Desc
                        Main Document   Page 92 of 96




                    EXHIBIT 7
Case 1:20-ap-01118-MB   Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34   Desc
                        Main Document   Page 93 of 96




                                                                                86
Case 1:20-ap-01118-MB   Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34   Desc
                        Main Document   Page 94 of 96




                                                                                87
Case 1:20-ap-01118-MB   Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34   Desc
                        Main Document   Page 95 of 96




                                                                                88
Case 1:20-ap-01118-MB   Doc 1 Filed 12/09/20 Entered 12/09/20 15:53:34   Desc
                        Main Document   Page 96 of 96




                                                                                89
